                             IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF MISSISSIPPI
                                      NORTHERN DIVISION

LATOYA BROWN; et al                                                                     PLAINTIFFS

v.                                                                     CAUSE NO. 3:17cv347-WHB-LRA

MADISON COUNTY, MISSISSIPPI; et al                              DEFENDANTS
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      DEFENDANTS’ MOTION TO WITHDRAW THEIR MOTION TO STRIKE
       DECLARATIONS [DKT # 276], INCORPORATED MEMORANDUM OF
    AUTHORITIES [DKT # 277], AND SUPPORTING EXHIBTIS [DKT # 278-283],
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           1.      On May 8, 2018, Defendants Madison County, Mississippi and Sheriff Randall S.

Tucker filed their Motion to Strike Declarations [Dkt. 276] with a Supporting Memorandum of

Authorities [Dkt. # 277]. The Exhibits to the Motion [Dkt. #s 278-283] were uploaded the

following day on May 9, 2018.1

           2.      Defendants hereby request to withdraw their Motion to Strike Declarations [Dkt.

276], their Supporting Memorandum of Authorities [Dkt. # 277], and the Exhibits to the Motion

[Dkt. #s 278-283] in light of new records Defendants have received from the Madison County

Justice Court.

           3.      Defendants intend and reserve the right to refile their Motion to Strike Declarations

along with their Memorandum of Authorities and Supporting Exhibits to reflect the new

information received.

           Respectfully submitted this 14th day of May, 2018.

                                                      MADISON COUNTY, MISSISSIPPI, and
                                                      SHERIFF RANDALL C. TUCKER, IN
                                                      HIS OFFICIAL CAPACITY

                                                      BY:      s/ Charles E. Ross
1
    The exhibits were uploaded the following day due to an ECF system error.
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                                CERTIFICATE OF SERVICE

       I, Charles E. Ross, hereby certify that I electronically filed the foregoing with the Clerk of

Court using the CM/ECF system which will automatically send email notification to all counsel

of record.

       This the 14th day of May, 2018.

                                                      s/Charles E. Ross
                                                      CHARLES E. ROSS
